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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division



   Huang Zhiyang,

                          Plaimijf,
           V.
                                                           Civil Action No. l:20-cv-00836
   45.COM, AN INTERNET DOMAIN NAME, AND                    Hon. Liam O'Grady
   JOHN DOE,


                          Defendants.


                ORDER ADOPTING REPORT AND RECOMMENDATION




       Before the Court is Magistrate Judge Davis' Report and Recommendation, Dkt. 45,

recommending that Huang Zhiyang, the Intervenor, be declared the lawful owner of45.com,and

directing ownership of the domain name to be transferred to the Intervenor.

       When reviewing a Magistrate Judge's Report and Recommendation, the Court must make

a de novo determination of those portions of the Report and Recommendation to which

objections, if any, are made. Fed. R. Civ. P. 72(b); 28 U.S.C. § 636(b)(1)(C). The Court is

authorized to accept, reject or modify, in whole or in part, the recommendations made by the

Magistrate Judge. Id.

       Upon due consideration of the record, the Court hereby APPROVES and ADOPTS the

findings Judge Davis set forth in the Report and Recommendation, Dkt. 45.

       It is SO ORDERED.




September       2021                                       Liam O^rady
Alexandria, Virginia                                       United Stales District Judge
